Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 1 of 29 PageID #: 37508
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 2 of 29 PageID #: 37509
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 3 of 29 PageID #: 37510
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 4 of 29 PageID #: 37511
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 5 of 29 PageID #: 37512
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 6 of 29 PageID #: 37513
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 7 of 29 PageID #: 37514
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 8 of 29 PageID #: 37515
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 9 of 29 PageID #: 37516
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 10 of 29 PageID #:
                                   37517
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 11 of 29 PageID #:
                                   37518
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 12 of 29 PageID #:
                                   37519
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 13 of 29 PageID #:
                                   37520
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 14 of 29 PageID #:
                                   37521
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 15 of 29 PageID #:
                                   37522
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 16 of 29 PageID #:
                                   37523
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 17 of 29 PageID #:
                                   37524
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 18 of 29 PageID #:
                                   37525
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 19 of 29 PageID #:
                                   37526
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 20 of 29 PageID #:
                                   37527
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 21 of 29 PageID #:
                                   37528
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 22 of 29 PageID #:
                                   37529
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 23 of 29 PageID #:
                                   37530
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 24 of 29 PageID #:
                                   37531
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 25 of 29 PageID #:
                                   37532
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 26 of 29 PageID #:
                                   37533
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 27 of 29 PageID #:
                                   37534
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 28 of 29 PageID #:
                                   37535
Case 5:96-cv-00091-DF-HWM Document 2054 Filed 07/24/98 Page 29 of 29 PageID #:
                                   37536
